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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

JOHN P. SENESE,

Plaintiff
CIVIL ACTION

vs.
LIBERTY MUTUAL INSURANCE NO. 13-5139
COMPANY .

Defendant

VERDICT SHEET

Question |:

Do you find that the driver of the White/Unidentified/Phantom Vehicle negligentr

Yes No

If you answered Question 1 “No”, the Plaintiff cannot recover in this action, You should
not answer any further questions, and you should sign the verdict slip and return to the
courtroom. If you answered Question 1 “Yes”, proceed to Question 2.

Question 2:

Was the negligence of the White Vehicle a factual cause of the harm to the Plaintiffe

Yes No

If you answered Question 2 “No”, the Plaintiff cannot recover in this action. You should
not answer any further questions, and you should sign the verdict slip and return to the
couttroom, If you answered Question 2 “Yes”, proceed to Question 3.
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Question 3:

Was the Plaintiff contributorily negligent?

Yes No

If you answered Question 3 “Yes,” proceed to Question 4. If you answered Question 3
“No,” proceed to Question 5.

Question 4:

If you answered Question 3 “Yes,” was the Plaintiffs contributory negligence a factual cause of the
harm to her?

Yes No

Question 5:

Taking the combined negligence that was a factual cause of the harm to Plaintiff in this case as 100
percent, what percentage of that causal negligence was attributable to each party you have found to
be causally negligent?

Percentage of causal negligence
attributable to the White Vehicle
(Answet oniy if you answered "Yes" to Questions i and 2) Yo

Percentage of causal negligence
attributable to the Plaintiff Yo
(Answer only if you answered "Yes" to Questions 4 and 5)

TOTAL 100 %
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Question 6:

What amount of moncy will fairly and reasonably compensate Plaintiff for the damages proven to be
factually caused by this accident?

JUROR

JURY FOREPERSON

DATE
